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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
______________________________________


JEFFREY ROTHMAN
                                             CIVIL No. 19-0225 (CM) (OTW)
   PLAINTIFF
                                             PLAINTIFF ROTHMAN’S NOTICE
   vs                                        MOTION FOR RECUSAL OF THE
                                            HONORABLE COLLEEN MCMAHON
THE CITY OF NEW YORK, etc.,                 FROM FURTHER PARTICIPATION
et al.                                      IN THIS MATTER (PURSUANT TO
                                            28 U.S.C. SECTION 455 (a) and (b) 1)
  DEFENDANTS

_______________________________________


  PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. Section 455 (a) and (b) 1 Plaintiff

Jeffrey Rothman, by his attorney James I. Meyerson, hereby moves the Court for recusal

of the Honorable Colleen McMahon from further participation in this matter.


DATED: New York, New York
       June 7, 2020
                                     /s/ James I. Meyerson____________
                                     JAMES MEYERSON
                                     510 Fifth Avenue -3rd Floor @ #335
                                     New York, New York 10036
                                     (917) 570-5369
                                     jimeyerson@gmail.com
                                     ATTORNEY FOR PLAINTIFF-MOVANT
                                     BY:______________________________
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TO:
THE HONORABLE COLLEEN McMAHON
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street-Suite # 2550
New York, New York 10007

BRIAN FRANCOLLA, ESQ.
Senior Counsel
Department of Law
Special Federal Litigation Division
100 Church Street
New York, New York 10007
(212) 356-3527
(212) 356-3509 (FAX)
brianfrancol@law.nyc.gov
ATTORNEYS FOR DEFENDANTS CITY OF NEW YORK, ANDREW WUNSCH,
AND VINCENT FLOREZ
BY:______________________________




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